Case 8:23-ap-01046-SC           Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08       Desc
                                 Main Document     Page 1 of 6



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 8 Special Counsel to Richard A. Marshack
   Chapter 11 Trustee for the Bankruptcy Estate of
 9 The Litigation Practice Group. PC

10
                                 UNITED STATES BANKRUPTCY COURT
11
                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
12

13
     In re:                                          Case No.: 8:23-bk-10571-SC
14
     THE LITIGATION PRACTICE GROUP, PC,              Adv. Proc. No. 8:23-ap-01046-SC
15
              Debtor.                                Chapter 11
16
   RICHARD A. MARSHACK,                              STIPULATION REGARDING ROSA
17 Chapter 11 Trustee,                               BIANCA LOLI AND LISA COHEN’S
                                                     DEADLINE TO FILE RESPONSIVE
18                           Plaintiff,              PLEADING TO TRUSTEE, RICHARD
                                                     MARSHACK’S FIRST AMENDED
19                      v.                           COMPLAINT
20 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,     [No Hearing Required]
21 an individual; LISA COHEN, an individual;
   WILLIAM TAYLOR CARSS, an individual;        Judge: Hon. Scott C. Clarkson
22 ENG TAING, an individual; HENG TAING, an    Place: Courtroom 5C
   individual; MARIA EEYA TAN, an individual;         411 W. Fourth Street
23 JAKE AKERS, an individual; HAN TRINH, an           Santa Ana, CA 92701
   individual; JAYDE TRINH, an individual; WES
24 THOMAS, an individual; SCOTT JAMES
   EADIE, an individual; JIMMY CHHOR, an
25 individual; DONGLIANG JIANG, an individual;
   MAX CHOU, an individual; OAKSTONE LAW
26 GROUP PC; GREYSON LAW CENTER PC;
   PHOENIX LAW, PC; MAVERICK
27 MANAGEMENT GROUP, LLC; LGS HOLDCO,
   LLC; CONSUMER LEGAL GROUP, P.C.;
28 VULCAN CONSULTING GROUP LLC; BAT
   INC. d/b/a COAST PROCESSING; PRIME

                                              1
Case 8:23-ap-01046-SC          Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08                 Desc
                                Main Document     Page 2 of 6



 1 LOGIX, LLC; TERACEL BLOCKCHAIN FUND
   II LLC; EPPS; EQUIPAY; AUTHORIZE.NET;
 2 WORLD GLOBAL; OPTIMUMBANK
   HOLDINGS, INC. d/b/a OPTIMUM BANK;
 3 MARICH BEIN, LLC; BANKUNITED, N.A.;
   REVOLV3, INC.; FIDELITY NATIONAL
 4 INFORMATION SERVICES, INC. d/b/a FIS;
   WORLDPAY, LLC; WORLDPAY GROUP;
 5 MERIT FUND, LLC; GUARDIAN
   PROCESSING, LLC; PAYLIANCE, LLC;
 6 TOUZI CAPITAL, LLC; SEAMLESS CHEX
   INC; DWOLLA, INC.; STRIPE, INC.; and DOES
 7 1 through 100, inclusive,

 8

 9 TO THE COURT, THE HONORABLE SCOTT C. CLARKSON, UNITED STATES

10 BANKRUPTCY JUDGE, OFFICE OF THE UNITED STATES TRUSTEE,                                       AND ALL
11 INTERESTED PARTIES

12          This Stipulation Regarding Rosa Bianca Loli and Lisa Cohen’s Deadline to File Responsive
13 Pleading to Trustee, Richard Marshack’s First Amended Complaint (the “Stipulation”). This

14 Stipulation is entered it by the Chapter 11 Trustee, Richard Marshack (“Trustee”) on the one hand

15 and defendants Rosa Bianca Loli and Lisa Cohen (collectively “Defendants”) to Adversary

16 Proceeding No. 8:23-ap-01046-SC (“1046 Action”) on the other. Trustee and Defendants are

17 periodically referred to as a “Party” and collectively as the “Parties”, unless individually identified.

18          In support of the Stipulation, the parties refer to the following recitals:
19                                                RECITALS
20          A.      On March 20, 2023, the Litigation Practice Group, PCw (“Debtor”) filed a voluntary
21 petition under Chapter 11 of the Bankruptcy Code, Commending this case entitled In re Litigation

22 Practice Group, PC, Case No. 8:23-bk-10571-SC.

23          B.      On May 8, 2023, Richard Marshack was appointed the Chapter 11 Trustee of Debtor’s
24 Bankruptcy Estate. Dkt No. 65.

25          C.      On May 25, 2023, Trustee filed his Complaint commencing the 1046 Action. 1046
26 Action, Dkt. No. 1. On June 15, 2023, Trustee filed his Amended Complaint in the 1046 Action

27 pursuant to Federal Rules of Bankruptcy Procedure (“FRBP”), Rule 7015(a) and Federal Rules of

28 Civil Procedure (“FRCP”), Rule 15(a). Dkt No. 65.


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Case 8:23-ap-01046-SC         Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08               Desc
                               Main Document     Page 3 of 6



 1           D.     On June 23, 2023 the court issued an Amended Summons to Trustee’s Amended

 2 Complaint setting the deadline for Defendants to file a responsive pleading for July 24, 2023. Dkt.

 3 No. 71.

 4           E.     Trustee is continuing his investigation in the claims brought against Defendants who

 5 deny Trustee’s claims.

 6           F.     Defendants have agreed to cooperate with Trustee and sit for an examination under

 7 oath in an effort to work towards a potential resolution. The parties will enter into a subsequent

 8 stipulation related to that examination. This stipulation will not interfere with the discovery cutoff,

 9 any motions or trial in the 1046 Action.

10                                            STIPULATION
11           Defendants shall have an additional ninety (90) days from July 24, 2024 to file a responsive

12 pleading to Trustee’s Amended Complaint which is Monday, October 23, 2023.

13

14           SO STIPULATED.
15 Dated: July 24, 2023                           DINSMORE & SHOHL LLP

16

17                                                By: /s/ Yoslina Lissebeck
                                                     Christopher B. Ghio
18                                                   Christopher Celentino
                                                     Yosina M. Lissebeck
19                                                   Jeremy Freedman
                                                     Special Counsel to Richard A. Marshack,
20                                                   Chapter 11 Trustee

21

22 Dated: July 24, 2023                           LESLIE COHEN LAW, PC

23

24                                                By:
                                                        Leslie Cohen
25                                                      Counsel for Rosa Biaca Loli and Lisa Cohen

26

27

28


                                                 3
        Case 8:23-ap-01046-SC                    Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08                                       Desc
                                                  Main Document     Page 4 of 6



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): STIPULATION REGARDING ROSA BIANCA LOLI
AND LISA COHEN’S DEADLINE TO FILE RESPONSIVE PLEADING TO TRUSTEE, RICHARD MARSHACK’S FIRST
AMENDED COMPLAINT

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 25,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On July 25, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 25, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

         JUDGE'S COPY
         The Honorable Scott C. Clarkson
         United States Bankruptcy Court
         Central District of California
         Ronald Reagan Federal Building and Courthouse
         411 West Fourth Street, Suite 5130 / Courtroom 5C
         Santa Ana, CA 92701-4593


                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 July 25, 2023                        Caron Burke                                                /s/ Caron Burke
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-.1.PROOF.SERVICE
      Case 8:23-ap-01046-SC                      Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08                                       Desc
                                                  Main Document     Page 5 of 6


1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
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        Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
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        Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
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        Richard A Marshack (TR)
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        Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
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        Douglas A Plazak on behalf of Defendant Jayde Trinh
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        Douglas A Plazak on behalf of Defendant Scott James Eadie
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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
      Case 8:23-ap-01046-SC                      Doc 105 Filed 07/25/23 Entered 07/25/23 10:32:08                                       Desc
                                                  Main Document     Page 6 of 6


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        Daniel H Reiss on behalf of Defendant Eng Taing
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        United States Trustee (SA)
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